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                        UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 PINKZEBRA MUSIC, LLC

                       Plaintiff,

         v.                                       Case No. 2020-cv-7420

 MFCXY, Inc., MyFreeCams.com, and                 JURY TRIAL DEMANDED
 Crakmedia, Inc.

                       Defendants.

         PLAINTIFF PINKZEBRA MUSIC LLC’S FEDERAL RULE OF CIVIL
    PROCEDURE 41(a)(1)(A)(i) NOTICE OF VOLUNTARY DISMISSAL OF COMPLAINT

        Plaintiff, Pinkzebra Music, LLC pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i)

hereby voluntarily dismisses the Complaint filed in the above captioned proceeding with prejudice,

with each party to bear their own fees and costs. Defendants have not answered the Complaint or

filed a motion for summary judgement.

        Accordingly, the Plaintiff notifies the Court and Defendants that the Complaint has been

dismissed with prejudice, with each party to bear their own fees and costs.

Dated: February 16, 2021                            Respectfully submitted,

                                                    By: /s/ Adam Wolek
                                                    Adam Wolek (awolek@taftlaw.com)
                                                    Taft Stettinius & Hollister LLP
                                                    111 East Wacker, Suite 2800
                                                    Chicago, IL 60601
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                                                    Attorney for Pinkzebra Music, LLC




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                               CERTIFICATE OF SERVICE

        The undersigned certifies that on February 16, 2021, he caused to be electronically filed
the foregoing document with the Clerk of the Court for the United States District Court for the
Northern District of Illinois using the CM/ECF system.




                                                    /s/ Adam Wolek




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